Case 0:19-cr-60347-RKA Document 10 Entered on FLSD Docket 11/21/2019 Page 1 of 11




                               UNITED STATES DISTRICT C OU RT
                               SO UTH ERN DISTR ICT O F FLO RIDA


                           CASENO. !9-60347-C R-A LTM A N /H U N T
                                           18U.S.C.j641
                                             18U.S.C.j9:1(a)(1)(C)

      UNITED STATES O F AM ERICA                                      FILE D BY             AT         Dc
      V.
                                                                                N ov 21,2019
      RICH AR D LYLE GREENBER G,
                                                                               cohkos
                                                                                   nyu
                                                                                     o,qs Nosus
                                                                               S.0-C1.
                                                                                       rs.otsr.cm
                                                                                     F'Ft.A .- 1
                                                                                               7'
                                                                                                1-1.
                      Defendant.
                                           /

                                                   IN DIC TM EN T

      The Grand Jttry chargesthat:

                                             CO UNTS 1-55
                                        TheftofGovernm entFunds
                                           ,
                                            (18U.S.C.j641)
                                               '


            On oraboutthe dateslisted belowC
                                           k in Brow ard County,in the Southem D istrictofFlorida,
                                                   ,


      thedefendant,

                                     RICH ARD LYLE G REENBER G ,
     did knowingly and willfully tm btzzle,steal,purloin and convertto his ow n uée, m oney ofthe

     United States and a dcpartm ent and agency thereof,the aggregate nm ount of w hich cxceeded

     $1,000.00,thatis,SocialSecurity Administration Title 11RetirementlnsuranceBenefts,payable
     to Rose G.,to which he knew he w asnetentitled,asspecitied in each countbelow :




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                APPROXIM ATE    DESCW PTION OF BENEFITS                   PAYM ENT
     C O U NT   D A TE                                                    A M O U NT
     1          12/03/2014      SocialSecurity Administration             $1,363 00
                                                                                .

                                Title 11Retirem entlnsurance Benefits
                                payableto RoseG.,directdeposited into
                                W ellsFargo accountending in 0593
    2           01/03/2015      SocialSecurity Administration             $1,389.00
                                Title 11Retirem entlnsurance Benefits
                                payableto RoseG.,directdeposited into
                                W ellsFargo accountendin in 0593            .
    3           02/03/2015      SocialSecurity Adm inistration            $1,389 00
                                                                                .

                               Title 11Retirem entlnsurance Benefits
                               payable to RoseG.,directdeposited into
                               W ellsFar o accountending in 0593
    4           03/03/2015      SocialSecurity Adm inistration            $1,389 00
                                                                                .

                               Title 11R etirem entlnsurance Benefits
                               payableto RoseG.,directdeposited into
                               W ellsFargo accountending in 0593
    5           04/03/2015     SocialSecurity Adm inistration             $1,389.00
                               Title 11R etirem entlnsurance Benefits
                               payable to RoseG.,directdeposited into
                               W ellsFargo accountending in 0593
    6           05/03/2015     SocialSecurity Adm inistration             $1,38900
                                                                                .

                               Title 11R etirem entInsurance Benefits
                               payableto RoseG.,directdeposited into
                               W ellsFargo accountendin in 0593
    7           06/03/2015     SocialSecurity Adm inistration             $1,389.00
                               Title 11R etirem entlnsurance Benefits
                               payable to Rose G .,directdeposited into
                               W ellsFargo accountending in 0593
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               APPROXIM ATE     DESCW PTION OF BENEFITS                 PAYM ENT
     CO U NT   DA TE                                                    AM O U NT
     8         07/03/2015       SocialSecurity Adm inistration          $1,389.00
                                Title 11Retirem entlnsurance Benefits
                                payableto RoseG.,directdeposited into
                                W ellsFargo accotmtendingin 0593
     9         08/03/2015       SocialSecurity Administration           $1,389.00
                               Title 11RetirementlnsuranceBenefits
                               payableto Rose G.,directdeposited into
                               W ellsFargo accotmtending in 0593
     10        09/03/2015       SocialSecurityAdm inistration           $1,389.00
                               Title 11Retirem entlnsuranceBenefits
                               payableto RoseG.,directdeposited into
                               W ellsFargo accountendin in 0593
    11         10/03/2015      SocialSecurityAdm inistration            $1,389.00
                               Title11Retirem entlnsuranceBenefts
                               payableto RoseG.,directdeposited into
                               W ellsFar o aceountendin in 0593
    12         11/03/2015      SocialSecurity Adm inistration           $1,389.00
                               Title 11Retirem entlnsuranceBenefits
                               payableto Rose G.,directdeposited into
                               W ellsFargo accountendin in 0593
    13         12/03/2015      SocialSecurity Adm inistration           $1,389.00
                               Title 11Retirem entlnsurance Benefits
                               payableto RoseG.,directdeposited into
                               W ellsFargo accountending in 0593
    14         01/03/2016      SocialSecurity Adm inistration           $1,389.00
                               Title11Retirementlnsurance Benefits
                               payableto RoseG.,directdeposited into
                               W ellsFar o accotmtending in 0593
    15         02/03/2016      SocialSecurity Administration            $1,389.00
                               Title11Retirem entlnsuranceBenefits
                               payabletoRose G.,directdeposited into
                               W ellsFar o accountending in 0593




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              A PPR O X IM A TE   DESC W PTIO N O F BEN EFITS              PA Y M ENT
    CO U NT   OA TE                                                        AM OUNT
     16       03/03/2016          SocialSecurity Adm inistration           $1,389.00
                                  Title 11R etirem entlnsurance Benefits
                                  payableto Rose G.,directdeposited into
                                  W ellsFargo accotm tending in 0593
    17        04/03/2016          SocialSecurity Adm inistration           $1,389.00
                                  Title 11Retirem entlnsurance Benefits
                                  payableto RoseG .,directdeposited into
                                  W ellsFargo accountending in 0593
    18        05/03/2016          SocialSecurity Adm inistration           $1,389.00
                                  Title 11Retirem entInsurance Benetits
                                  payableto RoseG.,directdeposited into
                                  W ells Fargo accountendin in 0593
    19        06/03/2016          SocialSecurity Adm inistration           $1,389.00
                                  Title 11Retirem entlnsurance Benefits
                                  payableto RoseG.,directdeposited into
                                  W ells Fargo accountending in 0593
    20        07/03/2016          SocialSecurity Adm inistration           $1,38900
                                                                                 .

                                  Title 11Retirem entInsurance Benefits
                                  payableto RoseG.,directdeposited into
                                  W ells Far o accountending in 0593
    21        08/03/2016          SocialSecurity Adm inistration           $1,389.00
                                  Title 11RetirementlnsuranceBenefits
                                  payableto RoseG.,directdeposited. into
                                  W ells Fargo accountendin in 0593
    22        09/03/2016          SocialSecurity Adm inistration           $1,389 00
                                                                                 .

                                  Title11Retirem entInsuranceBenefits
                                  payableto RoseG.,directdeposited into
                                  W ellsFargo accountending in 0593
    23        10/03/2016          SocialSecurity Administration            $1,389 00
                                                                                 .

                                  Title 11Retirem entlnsurance Benetits
                                  payabletoRoseG.,directdeposited into
                                  W ellsFargo accountending in 0593
    24        11/03/2016          SocialSectlrityAdm inistration           $1,389 00
                                                                                 .

                                  Title11Retirementlnsurance Benefits
                                  payableto RoseG.,directdeposited into
                                  W ellsFargo accountending in 0593




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               A PPR OX IM A TE   D ESCR IPTIO N O F BEN EFITS              PA Y M ENT
    C O UN T   O ATE                                                        A M O U NT
    25         12/03/2016         SocialSecurity Adm inistration            $1,389.00
                                  Title 11Retirem entlnsurance Benefits
                                  payableto RoseG.,directdeposited into
                                  W ells Fargo accountending in 0593
    26         01/03/2017         SocialSecurity Administration             $1,389.00
                                  Title 11R etirem entInstlrance Benefits
                                  payableto RoseG.,directdéposited into
                                  W ells Fargo accountending in 0593
    27         02/03/2017         SocialSecurity Adm inistration            $1,389.00
                                  Title 11Retirem entlnsurance Benefits
                                  payableto RoseG.,directdeposited into
                                  W ellsFargo accountending in 0593
    28         03/03/2017         SocialSecurity Adm inistration            $l,389.00
                                  Title 11Retirem entlnsurance Benefits
                                  payableto Rose G.,directdeposited into
                                  W ellsFargo accountending in 0593
    29         04/03/2017         SocialSecurityAdm inistration             $1,389 00
                                                                                  .

                                  Title 11Retirem entlnsurance Benefits
                                  payableto RoseG .,directdeposited into
                                  W ells Fargo accountending in 0593
    30         05/03/2017         SocialSecurity Adm inistration            $1,389 00
                                                                                  .

                                  Title 11Retirem entlnsurance Benefits
                                  payableto RoseG.,directdepositedinto
                                  W ellsFargo accountending in 0593
    31         06/03/2017         SocialSecurity Adm inistration            $1,389 00
                                                                                  .

                                  Title 11Retirem entInsurance Benefits
                                  payabletoRose G.,directdeposited into
                                  W ells Fargo accountending in 0593
    32         07/03/2017         SocialSecurity Adm inistration            $1,389 00
                                                                                  .

                                  Title 11Retirem entInsurance B enefits
                                  payableto RoseG.,directdeposited into
                                  W ellsFargo accountending in 0593




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               APPROXIM ATE     UESCW PTION OF BENEFITS                    PAYM ENT
    C O U NT   D A TE                                                      A M O U NT
    33         08/03/2017       SocialSecurity Adm inistration             $1,389.00
                               Title 11R etirem entInsurance Benefits
                               payable to RoseG.,directdeposited into
                               W ellsFargo accountendin in 0593
    34         09/03/2017      SocialSecurity Adm inistration              $1,389.00
                               Title 11R etirem entInsurance Benefits
                               payableto Rose G.,directdeposited into
                               W ellsFargo accountendin in 0593
    35         10/03/2017      SocialSecurity Adm inistration              $1,389.00
                               Title 11Retirem entlnsurance Benefits
                               payableto RoseG.,directdeposited into
                               W ellsFargo accountendingin 0593
    36         11/03/2017      SocialSecurity Adm inistration              $1,389.00
                               Title 11Retirem entInsurance Benefits
                               payable to R ose G .,directdeposited into
                               W ellsFargo accountendin in 0593
    37         12/03/2017      SocialSecurity Administration               $1,389.00
                               Title 11Retirem entInsurance Benefits
                               payable to R ose G .,directdeposited into
                               W ellsFargo accountending in 0593
    38         01/03/2018      SocialSeclzrity Adm inistration             $1,393.00
                               Title 11Retirem entlnsurance B enefits
                               payableto Rose G.,directdeposited into
                               W ellsFargo accountending in 0593
    39         02/03/2018      SocialSecurity Adm inistration              $1,393.00
                               Title 11Retirem entInsurance Benefits
                               payable to Rose G .,directdeposited into
                               W ellsFargo accountending in 0593
    40         03/03/2018      SocialSecurity Adm inistration              $1,393.00
                               Title 11Retirem entInsurance Benefits
                               payableto Rose G.,directdeposited into
                               W ellsFargo accountending in 0593
   41          04/03/2018      SocialSecurity Administration               $1,393.00
                               Title 11R etirem entlnsurance Benefits
                               payable to R ose G .,directdeposited into
                               W ells Fargo accountending in 0593




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               APPR O XIM A TE     D ESCW PTIO N O F BENEFIT S                 PA Y M EN T
    C O U NT   D ATE                                                           A M O U NT
    42         05/03/2018          SocialSecurity Adm inistration              $1,393.00
                                   Title 11R etirem entlnsurance Benefits
                                   payable to A .L.R ,directdeposited into
                                   W ellsFar o accountending in 0593.
    43         06/03/2018          SocialSecurity Adm inistration              $1,393.00
                                   Title 11Retirem entlnsurance Benefits
                                   payableto RoseG.,directdeposited into
                                   W ellsFargo accountending in 0593
    44         07/03/2018        ' SocialSecurity Adm inistration              $1,393.00
                                   Title 11R etirem entInsurance Benefits
                                   payable to R ose G .,directdeposited into
                                   W ellsFargo accountending in 0593
    45         08/03/2018          SocialSecurity Adm inistration              $1,393.00
                                   Title 11Retirem entInsurance Benefits
                                   payableto RoseG .,directdeposited into
                                   W ells Fargo accountending in 0593
    46         09/03/2018          SocialSecurity Adm inistration              $1,393.00
                                   Title 11Retirem entlnsurance Benefits
                                   payable to Rose G .,directdeposited into
                                   W ellsFargo accotmtending in 0593
    47         10/03/2018          SocialSecurity Adm inistration              $1,393.00
                                   Title 11Retirem entInsurance Benefhs
                                   payableto RoseG.,directdeposited into
                                   W ells Fargo accountending in 0593
    48         11/03/2018          SocialSecurityAdm inistration               $1,393.00
                                   Title 11Retirem entlnsurance Benefits
                                   payable to R ose G .,directdeposited into
                                   W ellsFar o accountending in 0593
    49         12/03/2018          SocialSeeurity Administration               $1,393.00
                                   Title 11Retirem entInsurance Benefits
                                   payable to Rose G .,directdeposited into
                                   W ells Fargo accountending in 0593




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               APPROXIM ATE        DESCW PTION OY BENEFITS                    PAYM ENT
    C O U NT   D A TE                                                         AM OUNT
    50         01/03/2019          SocialSecurity Adm inistration             $1,435.00
                                   Title 11R etirem entlnsurance Benetits
                                   payable to Rose G .,directdeposited into
                                   W ells Fargo accountendin in 0593
    51         02/03/2019          SocialSecurity Adm inistration             $1,435.00
                                   Title 11Retirem entlnsurance Benefits
                                   payable to Rose G .,directdeposited into
                                   W ellsFargo accountending in 0593
    52         03/03/2019          SocialSecurity Adm inistration             $1,435.00
                                   Title 11Retirem entInsurance Benefits
                                   payable to Rose G .,directdeposited into
                                   W ellsFargo accountending in 0593
    53         04/03/2019          SocialSecurity Adm inistration             $1,435.00
                                   Title 11Retirem entlnsurance Benefits
                                   payableto Rose G.,directdeposited into
                                   W ells Fargo accountending in 0593
    54         05/03/2019          SocialSecurity Adm inistration             $1,435.00
                                   Title 11R etirem entlnsurance Benetk s
                                   payableto Rose G.,directdeposited into
                                   W ells Fargo accountending in 0593
    55         06/03/2019          SocialSeclzrity Adm inistration            $1,435.00
                                   Title 11Retirem entlnsurance Benefits
                                   payableto RoseG.,directdeposited into
                                   W ellsFar o accountending in 0593


         Allin violation ofTitle 18,United StatesCode,Section 641.




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                                              C RIM IN AL FO R FEITUR E
                                               (18U.S.C.j981(a)(1)(C))
                        The allegations ofthis lndidm entare hereby re-alleged and by this referenee fully

       incorporated herein forthepurposeofalleging forfeituretotheUnited StatesofAmericaofcertain

   property inwhich the defendant,RICHARD LYLE GREENBERG ,hasan interest.

                        Upon conviction ofa violation ofTitle 18,United States Code,Section 641,as

   alleged in this Indictm ent,the defendant shallforfeitto the U nited States any property, realor

   personal,which eonstitutesorisderivedfrom proeeedstraceableto such offense,pursuanttoTitle

   18,United StatesCode,Section 981(a)(1)(C).
                A1lpursuanttoTitle 18,United StatesCode,Section 981(a)(1)(C)andtheproceduresset
   forthinTitle21,UnitedStatesCode,Section 853,asincorporated byTitle28,United StatesCode,

   Section2461(c).


                                                                    A TRUE BILL



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   UN ITED STA TES A TTO RN EY

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                                            U NITED STATES DISTRICT CO URT
                                            SO UTH ERN DISTRICT O F FLORIDA

 UNITED STATES OF AM ERICA

                                                         C ERTIFICATE O F TRIAL ATTO RNEY.
 RICHARD LYLE GREENBERG,
                                                         Superseding Case lnform ation:
                             Defendant.         J
 CourtDivijiop:(selectOne)                              New defendantts)             Yes    No
        M lam l          K ey W est                     Num berofnew defendants
  z     FTL              W PB             FTP           Totalnum berofcounts

                  lhavecarefully considered the allegations ofthe indictment,the numberofdefendants,thenumberof
                  probable witnessesand the legalcomplexitiesofthe lndictment/lnformation attachedhereto.
        2.        lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                  Courtin setting theircalendars and scheduling criminaltrialsunderthe mandate ofthe Speedy Trial
                  Act,Title 28 U.S.C.Section 3161.
                  lnterpreter:      (YesorNo)
                  Listlanguageand/ordialect
                  Thiscasewilltake 4 daysforthepartiesto try.
                  Please check appropriatecategory and typeofoffense listed below:

                                                               (Checkonlyone)
        l         0 to 5 days                   /              Petty
        11        6 to 10 days                                 M inor
        1ll       l1to 20days                                  M isdem.
        IV        21 to 60 days                                Felony                z
        V         61 daysand over
        6.        Hasthiscasepreviously beenfiled inthisDistrictCourt?          (YesorNo)   No   -
         lfyes:Judge                                    CaseNo.
         (Attachcopy ofdispositiveorder)
         Hasacomplaintbeenfiled inthismatter?           (YesorNo)        YeS
         Ifyes:M agistrate CaseNo.                       19-6493-L55                                      -

         Related miscellaneousnum bers:
         Defendantts)infederalcustodyasof                l1/19/2019                                       -

         Defendantts)in statecustodyasof
         Rule20 from the Districtof
         lsthisapotentialdeathpenalty case?(YesorNo)              No
                  Doesthiscaseoriginatefrom amatterpending in theCentralRegion ofthe U .S.Attorney'sOftice
                  priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                 Yes         No /
        8.        Doesthiscaseoriginate from a matterpending intheNorthern Region U .S.Attorney'sOftice
                  priortoAugust8,2014(Mag.JudgeShaniekM aynard)?                Yes         No z


                                                               THOM AS P. N l AN
                                                               ASSISTANT UNITED STATES ATTORNEY
                                                               FloridaBarNo./courtNo.A5500033
 *penaltySheetts)attached
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                               U NITED STATE S D ISTR ICT CO UR T
                               SOUTHERN DISTRICT OF FLORIDA
                                           PEN A LTY SH EET



Defendant'sNam e:RICHARD LYLE GREENBERG                                     C ase N o:

Counts:1 -55

TheftofGovernm entPropertv

18U.S.C.j641
*M ax.Penalty:Ten(10)years'imprisonment;tllree(3)years'supervisedrelease'
                                                                        ,$250,000tineastoeach
count.

Count:




*M ax.Penalty:

Count:




*M ax.Penalty:

Count:




*M ax.Penalty:
    +Refers enly to possible term ef incaroeration, ioes n:t incluie pnssible fines, restituticn, special
    assessments, parnle terms nr fnrfeitures that may be applicable.
